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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-918V
                                      Filed: May 11, 2021
                                        UNPUBLISHED


    RONALD SKRAJNER,

                         Petitioner,
    v.                                                        Joint Stipulation on Damages;
                                                              Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                   Sensorineural Hearing Loss (SNHL)
    HUMAN SERVICES,

                        Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Matthew Murphy, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

        On July 7, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that he suffered sensorineural hearing loss caused by his
receipt of the influenza vaccine on October 12, 2015. Petition at 1; Stipulation, filed
May 11, 2021, at ¶¶ 2,4. Petitioner further alleges he experienced the residual effects
of his condition for more than six months and that there are no prior award or settlement
of a civil action for damages as a result of his condition. Petition at 9; Stipulation at ¶¶
4-5. “Respondent denies that the influenza vaccine is the cause of petitioner’s alleged
SNHL, any other injury, or his current condition.” Stipulation at ¶ 6.

        Nevertheless, on May 11, 2021, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as the decision of the Court in awarding damages, on the terms
set forth therein.

1
  Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinaf ter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $45,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment in accordance with this decision. 3


IT IS SO ORDERED.

                                         s/Daniel T. Horner
                                         Daniel T. Horner
                                         Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
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